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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

RYAN MERHOLZ, and MELVYN KLEIN,          : CASE NO. 3:20-CV-00557-VAB
derivatively on behalf of WORLD          :
WRESTLING ENTERTAINMENT, INC.,           :
                                         :
             Plaintiffs,                 :
                                         :
v.                                       :
                                         :
VINCENT K. MCMAHON, STEPHANIE            :
MCMAHON, PAUL LEVESQUE, FRANK A. :
RIDDICK III, STUART U. GOLDFARB,         :
LAUREEN ONG, ROBYN W. PETERSON,          :
MAN JIT SINGH, JEFFREY R. SPEED,         :
ALAN M. WEXLER, GEORGE A. BARRIOS, :
and MICHELLE D. WILSON,                  :
                                         :
             Defendants,                 :
                                         :
WORLD WRESTLING ENTERTAINMENT,           :
INC.,                                    :
                                         :
             Nominal Defendant.          :
______________________________________________________________________________

DANIEL KOOI, derivatively on behalf of   : CASE NO. 3:20-CV-00743-VAB
WORLD WRESTLING ENTERTAINMENT,           :
INC.,                                    :
                                         :
            Plaintiff,                   :
                                         :
v.                                       :
                                         :
VINCENT K. MCMAHON, FRANK A.             :
RIDDICK III, JEFFREY R. SPEED,           :
PATRICIA A. GOTTESMAN, STUART U.         :
GOLDFARB, LAUREEN ONG, PAUL              :
LEVESQUE, ROBYN W. PETERSON,             :
STEPHANIE MCMAHON, MAN JIT SINGH,        :
ALAN M. WEXLER, GEORGE A. BARRIOS,       :
and MICHELLE D. WILSON                   :
                                         :
            Defendants.                  :
                                         :
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WORLD WRESTLING ENTERTAINMENT,           :
INC.                                     :
                                         :
            Nominal Defendant.           :
______________________________________________________________________________

RODNEY NORDSTROM, derivatively on                      : CASE NO. 3:20-CV-00904-VAB
behalf of WORLD WRESTLING                              :
ENTERTAINMENT, INC.,                                   :
                                                       :
                Plaintiff,                             :
                                                       :
v.                                                     :
                                                       :
VINCENT K. MCMAHON, GEORGE A.                          :
BARRIOS, MICHELLE D. WILSON,                           :
STEPHANIE MCMAHON, PAUL                                :
LEVESQUE, FRANK A. RIDDICK III,                        :
STUART U. GOLDFARB, LAUREEN ONG,                       :
ROBYN W. PETERSON, MAN JIT SINGH,                      :
JEFFREY R. SPEED, ALAN M. WEXLER,                      :
and PATRICIA A. GOTTESMAN,                             :
                                                       :
                Defendants,                            :
                                                       :
WORLD WRESTLING ENTERTAINMENT,                         :
INC.,                                                  :
                                                       :
                Nominal Defendant.                     : NOVEMBER 20, 2020

______________________________________________________________________________

   DECLARATION OF JEFFREY P. MUELLER IN SUPPORT OF DEFENDANTS’
 MEMORANDUM OF LAW IN OPPOSITION TO DENNIS PALKON’S MOTION FOR
PERMISSIVE INTERVENTION, APPOINTMENT OF LEAD COUNSEL, AND DENIAL
            OF DEFENDANTS’ MOTIONS TO DISMISS AS MOOT

     I, Jeffrey P. Mueller declare as follows:

        1.      I am a partner at the law firm of Day Pitney LLP.

        2.      I am counsel for Defendants Vincent K. McMahon, George A. Barrios, Michelle

D. Wilson, Stephanie McMahon, Paul Levesque, Frank A. Riddick III, Stuart U. Goldfarb,

Laureen Ong, Robyn W. Peterson, Man Jit Singh, Jeffrey R. Speed, Alan M. Wexler, and


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Patricia A. Gottesman and Nominal Defendant World Wrestling Entertainment, Inc. (“WWE”)

(collectively, “Defendants”) in the above-captioned actions.

       3.        I respectfully submit this Declaration in support of Defendants’ Memorandum of

Law in Opposition to Dennis Palkon’s (“Palkon”) Motion for Permissive Intervention,

Appointment of Lead Counsel, and Denial of Defendants’ Motions to Dismiss as Moot.

       4.        Attached hereto as Exhibit 1 is a true and accurate copy of WWE’s 8-K filed with

the United States Securities and Exchange Commission on September 1, 2020.

       5.        Attached hereto as Exhibit 2 is a true and accurate copy of WWE’s 8-K filed with

the United States Securities and Exchange Commission on October 5, 2020.

       6.        Attached hereto as Exhibit 3 is a true and accurate copy of WWE’s 8-K filed with

the United States Securities and Exchange Commission on July 7, 2020.

       7.        Attached hereto as Exhibit 4 is a true and accurate copy of Minutes of a

Telephonic Meeting of the Board of Directors dated September 8, 2017, which was produced to

Palkon in response to his demand to inspect WWE’s corporate books and records pursuant to 8

Del. C. § 220.

       8.        Attached hereto as Exhibit 5 is a true and accurate copy of Minutes of a Regular

Meeting of the Board of Directors dated October 19, 2017, which was produced to Palkon in

response to his demand to inspect WWE’s corporate books and records pursuant to 8 Del. C. §

220.

       9.        Attached hereto as Exhibit 6 is a true and accurate copy of a Unanimous Written

Resolution of the Board of Directors dated January 31, 2018, which was produced to Palkon in

response to his demand to inspect WWE’s corporate books and records pursuant to 8 Del. C. §

220.



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       10.     Attached hereto as Exhibit 7 is a true and accurate copy of Minutes of a Meeting

of the Special Committee of the Board of Directors dated January 18, 2018, which was produced

to Palkon in response to his demand to inspect WWE’s corporate books and records pursuant to

8 Del. C. § 220.

       11.     Attached hereto as Exhibit 8 is a true and accurate copy of Minutes of a Meeting

of the Special Committee of the Board of Directors dated February 7, 2018, which was produced

to Palkon in response to his demand to inspect WWE’s corporate books and records pursuant to

8 Del. C. § 220.

       12.     Attached hereto as Exhibit 9 is a true and accurate copy of Minutes of a Meeting

of the Special Committee of the Board of Directors dated January 18, 2018, which was produced

to Palkon in response to his demand to inspect WWE’s corporate books and records pursuant to

8 Del. C. § 220.

       13.     Attached hereto as Exhibit 10 is a true and accurate copy of Minutes of a Meeting

of the Special Committee of the Board of Directors dated January 19, 2018, which was produced

to Palkon in response to his demand to inspect WWE’s corporate books and records pursuant to

8 Del. C. § 220.

       14.     Attached hereto as Exhibit 11 is a true and accurate copy of Minutes of a Meeting

of the Special Committee of the Board of Directors dated January 22, 2018, which was produced

to Palkon in response to his demand to inspect WWE’s corporate books and records pursuant to

8 Del. C. § 220.

       15.     Attached hereto as Exhibit 12 is a true and accurate copy of Minutes of a Meeting

of the Special Committee of the Board of Directors dated January 22, 2018, which was produced




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to Palkon in response to his demand to inspect WWE’s corporate books and records pursuant to

8 Del. C. § 220.

       16.     Attached hereto as Exhibit 13 is a true and accurate copy of Minutes of a Meeting

of the Special Committee of the Board of Directors dated February 15, 2018, which was

produced to Palkon in response to his demand to inspect WWE’s corporate books and records

pursuant to 8 Del. C. § 220.

       17.     Attached hereto as Exhibit 14 is a true and accurate copy of Minutes of a Meeting

of the Special Committee of the Board of Directors dated February 27, 2018, which was

produced to Palkon in response to his demand to inspect WWE’s corporate books and records

pursuant to 8 Del. C. § 220.

       18.     Attached hereto as Exhibit 15 is a true and accurate excerpted copy of Minutes of

a Meeting of the Special Committee of the Board of Directors dated March 29, 2018, which was

produced to Palkon in response to his demand to inspect WWE’s corporate books and records

pursuant to 8 Del. C. § 220.

       19.     Attached hereto as Exhibit 16 is a true and accurate excerpted copy of Duff &

Phelps' Presentation to the Special Committee of the Board of Directors dated February 27,

2018, which was produced to Palkon in response to his demand to inspect WWE’s corporate

books and records pursuant to 8 Del. C. § 220.

       20.     Attached hereto as Exhibit 17 is a true and accurate copy of Minutes of a Regular

Meeting of the Board of Directors dated April 19, 2018, which was produced to Palkon in

response to his demand to inspect WWE’s corporate books and records pursuant to 8 Del. C. §

220.




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       21.       Attached hereto as Exhibit 18 is a true and accurate excerpted copy of WWE’s

10-Q filed with the United States Securities and Exchange Commission on May 3, 2018.

       22.       Attached hereto as Exhibit 19 is a true and accurate excerpted copy of an agenda

and materials for a meeting of the Audit Committee dated April 18, 2018, which was produced to

Palkon in response to his demand to inspect WWE’s corporate books and records pursuant to 8

Del. C. § 220.

       23.       Attached hereto as Exhibit 20 is a true and accurate excerpted copy of a

Complaint for Damages and Jury Trial, dated February 22, 2019, filed in the Superior Court of

the State of California for the County of Los Angeles under caption, Vanech v. Ebersol, et al.,

No. 19STCP00540.

       24.       Attached hereto as Exhibit 21 is a true and accurate copy of the Affidavit of

Charles Ebersol dated December 12, 2019, which was provided to Palkon on June 24, 2020.

       25.       Attached hereto as Exhibit 22 is a true and accurate excerpted copy of an agenda

and materials for a meeting of the Board of Directors dated February 1, 2018, which was

produced to Palkon in response to his demand to inspect WWE’s corporate books and records

pursuant to 8 Del. C. § 220.

       26.       Attached hereto as Exhibit 23 is a true and accurate excerpted copy of an agenda

and materials for a meeting of the Board of Directors dated October 18, 2018, which was

produced to Palkon in response to his demand to inspect WWE’s corporate books and records

pursuant to 8 Del. C. § 220.

       27.       Attached hereto as Exhibit 24 is a true and accurate excerpted copy of an agenda

and materials for a meeting of the Board of Directors dated January 31, 2019, which was




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produced to Palkon in response to his demand to inspect WWE’s corporate books and records

pursuant to 8 Del. C. § 220.

       28.     Attached hereto as Exhibit 25 is a true and accurate excerpted copy of an agenda

and materials for a meeting of the Board of Directors dated April 18, 2019, which was produced

to Palkon in response to his demand to inspect WWE’s corporate books and records pursuant to

8 Del. C. § 220.

       29.     Attached hereto as Exhibit 26 is a true and accurate copy of Minutes of a Regular

Meeting of the Board of Directors dated July 18, 2019, which was produced to Palkon in

response to his demand to inspect WWE’s corporate books and records pursuant to 8 Del. C. §

220.

       30.     Attached hereto as Exhibit 27 is a true and accurate excerpted copy of WWE’s 8-

K filed with the United States Securities and Exchange Commission on July 25, 2019.

       31.     Attached hereto as Exhibit 28 is a true and accurate copy of a report of WWE’s

stock prices from July 24-26, 2019, which was downloaded from Yahoo! Finance on November

17, 2020.

       32.     Attached hereto as Exhibit 29 is a true and accurate excerpted copy of a

Confidentiality Agreement dated as of September 24, 2020.

       33.     Attached hereto as Exhibit 30 is a true and accurate excerpted copy of WWE’s

Schedule 14A Definitive Proxy Statement filed with the United States Securities and Exchange

Commission on March 31, 2008.

       34.     Attached hereto as Exhibit 31 is a true and accurate excerpted copy of WWE’s

Schedule 14A Definitive Proxy Statement filed with the United States Securities and Exchange

Commission on March 11, 2016.



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       35.     Attached hereto as Exhibit 32 is a true and accurate excerpted copy of WWE’s 8-

K filed with the United States Securities and Exchange Commission on April 21, 2016.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge.



Dated: November 20, 2020
Milford, Connecticut




                                                     ___________________________
                                                     Jeffrey P. Mueller




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